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                                                                                              Letter
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  March 3, 2022

 U.S. District Judge Leslie E. Kobayashi

 U .5. District Court, District of Hawaii

 300 Ala Moana Boulevard C-338

 Honolu lu, Hawaii 96850




 Dear Judge Kobayashi,

 I'm a reporte r and editor for Honolu lu Civil Beat. I am reques ting video
                                                                             access to the motion for
 prelimi nary injunct ion hearing in Spriestersbach v. State of Hawaii (21-cv-
                                                                               00456=LEK) scheduled
 for March 11 at 9:45 a.m.

 I agree to remain muted and off camera during the procee ding and I
                                                                     will not record any of the
 proceeding.

 I would also like to reques t video access to all future public proceedings
                                                                             in this case that are
 conduc ted by video conference.

Thank you for your conside ration of this reques t and, if granted , please
                                                                            let me know how I go
about accessing it.

 Best regards,




Editor

808-37 7-0561
